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&/31/2021 9°35 PM

Marilyn Burgess - District Clark Harris County
Envelope No. 56848717

By: Cecilia Thayer

Filed: 8/31/2021 9:35 PM

CAUSE NO.
MATEO VILLAFUERTE ANDA § IN THE DISTRICT COURT OF
VS. ; HARRIS COUNTY, TEXAS
DELBERT BATES AND

FLIPPO FAST FREIGHT, INC. JUDICIAL DISTRICT

 

PLAINTIFF’S ORIGINAL PETITION

 

TO THE HONORABLE.JUDGE OF SAID COURT:

NOW COMES, Plaintiff, MATEO VILLAFUERTE ANDA, hereinafter referred to as
“Plaintiff,” complaining of DELBERT BATES (“Defendant Bates”) and FLIPPO FAST FREIGHT, INC.
(“Defendant Flippo”), hereinafter collectively referred to as “Defendants,” and for cause of action

would respectfully show:

1.

Plaintiff intends to conduct discovery under Level IL, pursuant to 190.3 of the TEXAS RULES
OF CIVIL PROCEDURE.

IT.

Plaintiff is an individual and a resident of Harris County, Texas. The last three numbers of
Plaintiff's. driver’s license number are XXX, and the last three numbers of his social security
number are XXX.

Defendant Bates is an individual who resides in Walker County, Alabama, and may be
served with process at his place of residence, 68 Reno Hill Road, Townley, Alabama 35587, or

wherever he may be found.

 

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Defendant Flippo is a foreign for-profit corporation doing business in the State of Texas;
service upon this Defendant may be had by serving its registered agent, Randall Flippo at 3430
Highway 124, Townley, Alabama 35587 or wherever it may be found.

This incident occurred in Harris County, Texas.

mH,

Damages sought are within the jurisdictional limits of this Court. Plaintiff seeks monetary
relief of over $250,000.

This Court has jurisdiction and venue. is proper in Harris County, Texas pursuant to Tex.
Civ. Prac. & Rem. Code §15.002(a)(1) because all or a substantial part of the events or omissions
giving rise to the claim occurred in Harris County, Texas.

| IV.

On or about December 2, 2020, Plaintiff was traveling south bound in or near the 10100
block of the North Loop East Freeway in Harris County, Texas. As Plaintiff slowed for traffic,
suddenly and without warning, Defendant Bates failed to control his speed and collided with the
rear of Plaintiff's vehicle. Defendant Bates was issued citation number 144216283 for “Fail[ure]
to Control Speed”. As a result of Defendant Bates’s negligence and the collision, Plaintiff
sustained serious personal injuri es as described herein.

Based on information and belief, at all times material to this lawsuit, Defendant Bates was
an employee or agent of and engaged in the furtherance of the business of and in the course and
scope of employment or agency relationship with Defendant Flippo. As a result of the incident,

Plaintiff sustained serious personal injuries as described herein.
V.

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On the occasion in question, Defendant Bates violated his duty to exercise ordinary care in

the operation of the motor vehicle and was negligent in one or more of the following particulars:

(a)
(b)
(Cc)
(d)
{e)
(f)
(g)
(h)

in failing to keep a proper lookout;

in failing to apply or timely apply the brakes;

in failing to maintain a proper distance between vehicles;

in failing to control the speed of Defendant’s vehicle;

in failing to avoid the collision; +

in striking Plaintiff's vehicle;

in failing to drive in a reasonably attentive manner; and

in failing to exercise ordinary care-as a reasonably prudent person would have done
under the same or similar circumstances.

. Each of these acts or omissions, singularly or collectively, constituted negligence, which

proximately caused the occurrence made the basis of this suit and the resulting injuries and

damages to Plaintiff.

VIL

Defendant Flippo and its agents, officers, and employees, for whose acts and omissions _

constituting negligence and negligence per se, and such acts.and omissions, among others, are as

follows:

(a)

(b)

(c)

In failing to. properly screen, test, and qualify drivers, specifically including
Defendant Bates, so as to provide for safe operation of a vehicle such as the
one involved in the occurrence in question;

In hiring, employing, and/or retaining drivers, specifically including
Defendant Bates, who lacked proper screening, testing, training and
qualifications so as to provide for safe operation of a vehicle such as the one
involved in the occurrence in question;

In failing to properly train and supervise drivers, specifically including
Defendant Bates, so as.to provide for safe operation of a vehicle such as the
one involved in the oceurrence in question; and

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(d) In. failing to properly implement and enforce policies, procedures, and
protocols to properly screen, test, train, qualify, supervise, and retain drivers
to operate a vehicle such as the one involved in the occurrence in question.

Atall times material hereto, all ofthe agents, servants, and employees for Defendant Flippo
including but not limited to Defendant Bates, who were connected with the occurrence made the
subject of this cause of action were acting within the course and scope of their employment or
agency relationship or official duties. and in furtherance of the duties of their employment or
agency or office; and these agents, servants, and employees were acting in a managerial capacity
or as vice-principals, and the acts committed by them, were authorized, approved, and ratified by
Defendant Flippo. Thus, Defendant Flippo is vicariously liable for the acts and/or omissions of

Defendant Bates under the doctrine of respondeat superior.
VIL
All of the facts stated in this pleading are incorporated herein as if fully set forth. The actions,
conduct and/or omissions of Defendants were a violation of state law and/or local regulations and/or
ordinances and as such constitute negligence per se.
Vill.
As a direct and proximate result of the aforementioned acts and omissions of negligence

by the Defendants, Plaintiff sustained the following damages for which he is legally entitled to

recover:
1. Necessary and reasonable medical expenses, past and future,
2. Physical pain and inental anguish, past and future;
3. Physical impairment, past and future;
4. Disfigurement, past and future;
5. Loss of income and reduced wage earning capacity, past and future;

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6. Pre-judgment interest and costs of Court; and.
7. Property damage.

If it be found that Plaintiff was suffering from any predispositions, conditions or bodily
infirmities prior to the.date of the collision, Plaintiff would show unto the Court and jury that the
same was neither disabling nor painful, but that as a result of the injuries suffered by Plaintiff on
such occasion, and the effects thereof, the same had been incited, accelerated, and aggravated to
such an extent that they have now become painful and disabling as described herein.

Please take notice that, pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, for
purposes of self-authentication, any and all documents produced by Defendant to Plaintiff in
response to written discovery will be used against Defendant at any pretrial proceeding or at trial.

X.
REQUIRED DISCLOSURE

Pursuant to Texas Rule of Civil Procedure 194(a), each Defendant is required to disclose,
within thirty (30) days of the filing of the first answer, the information or material described in
Rule 194.2(b)1-12. Any Defendant that is served or otherwise joined after the filmg of the first

answer must make their initial disclosures within thirty (30) days after being served or joined.

XI.
PRAYER
WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to
appear and answer hérein; that upon trial hereof, Plaintiff have judgment of the Court against such
Defendants in a total amount of money substantially in excess of the minimum jurisdictional limit

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of this Court, together with prejudgment and post-judgment interest as provided by applicable
laws; for all costs of court; and for all such other and further relief, both general and special, legal

and equitable, to which Plaintiff may show himself justly entitled.

Respectfully submitted,

CRIM & VILLALPANDO, PC

 

State Bar No. 11433490
2122 E Governors Circle
Houston, Texas 77092

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(713) 807-8852 Fax
Allen@cvinjurylawyers.com

ATTORNEY FOR PLAINTIFF
MATEO VILLAFUERTE ANDA

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CAUSE NO. 202155866
COPY OCF PLEADING PROVIDED BY PLT

RECEIPT No, 908698 TR# 73910981

 

EML
Plaintiff: In The 133rd
ANDA, MATEO VILLAFUERTE Judicial District Court of
VS) Harris County, Texas
Defendant: 201 CAROLINE
BATHS, DELBERT: Houston, Texas

 

GETATION (NON-RESIDENT CORPORATE)
THE STATE Of TEXAS
county of Harris

To: FLEPPO FAST FREIGHT INC (A FOREIGN FOR-PROFIT CORPORATION) MAY BE SERVED BY SERVING
ITS REGISTERED AGENT RANDALL FLIPPO

3430 HIGHWAY 124, TOWNLEY AL 33587

OR WHEREVER IT MAY BE FOUND

Attached is a copy of: PLAINTIFF'S ORIGINAL PETITION

This instrument was filed on August 31, 2021 in thé above cited cause number and court. The
instrument attached describes the claim against you.

YOU HAVE BEEN SUED. ‘You’ may employ an attorney. If you or your Attorney do not file
A writken answer with the District Clérk who issued this citation by 10:00 a.m. on the
Monday next following the expiration date of 20 days aftet you were served this citation and’
petition, a defauit judgment may be taken against you. Th addition to filing a written
answer with the clerk, you may be required’ to make initial disclosures to the ether parties
of this suit. These disclosures genetally must be made no later than 30 days after you file
your answer with the clerk. Find out more at TexastawHelp.org.

x

TO OFFICER SERVING:

his citation was issued on September 3, 2021, under my hand and s@al of said court.

Mail Brages

issued. at the request of: Marilyn Burgess, District Clerk

KING, ALLEN ARLEN JR.
2122 BEB. GOVENORS CERCLE
HOUSTON, TX 77092-0000
713-807-7800

Bar Numbex; 11433450

Harris County, Texas

201 CAROLINS, Housten, TX 77002
(Po Box 4651, Houston, TX
77240)

 

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